Case 2:04-cr-20374-.]PI\/| Document 64 Filed 09/01/05 Page 1 of 2 Page|D 91

F|LED BY__,_ Dc_
IN THE UNITED sTATEs DISTRICT cOURT '
FOR THE wEsTERN DISTRICT oF TENNESSEE OSSEF_' FH _
wEsTERN DIVISION 3'57

 

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WB ,A_._Smm

UNITED sTATEs oF AMERICA, , h m-WHW%
s w'mw,

Plaintiff,
v. No. 04-20374 Ml
TANYA WILLIAMSON,

Defendant.

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ORDER GRANTING MOTION TO CONTINUE

 

Before the Court is the Defendant's motion to continue the
September 2, 2005 sentencing. Good cause having been shown, the
motion is hereby GRANTED and the sentencing in this matter is RESET

to Wednesdav. October 5, 2005. at 8:45 a.m.

IT Is so oRDERED this ¢Q day of september, 2005.

mw

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

       

    
 

UNITED sTATE DRISTIC CoUR - WE"RNTE D's'TRCT oFTENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:04-CR-20374 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

